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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 CSX TRANSPORTATION, INC.,
 individually and on behalf of NORFOLK
 & PORTSMOUTH BELT LINE
 RAILROAD COMPANY,

                Plaintiff,

 v.                                                    Civil Action No. 2:18-cv-530-MSD-RJK

 NORFOLK SOUTHERN RAILWAY
 COMPANY, et al.,

                Defendants.
                                               /


                                   NOTICE OF JOINT FILING

        Plaintiff CSX Transportation, Inc. and Defendants Norfolk Southern Railway Company

 and Norfolk & Portsmouth Belt Line Railroad Company (collectively, the “Parties”), by counsel,

 hereby give notice that, following the confirmation of the trial and final pre-trial conference dates

 with the Court, the Parties have met and conferred regarding a proposed schedule for pre-trial and

 any outstanding deadlines in this matter. The Parties are in agreement on a proposed schedule for

 pre-trial filings and any outstanding deadlines, and submit herewith as Exhibit 1 a proposed order

 amending the Rule 16(b) Scheduling Order previously entered in this case. See ECF Nos. 78, 118,

 254.

        WHEREFORE, the Parties respectfully request that the Court consider and enter the

 Parties’ proposed order and grant any further relief it deems just and proper.




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 Dated: August 15, 2022             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I certify that on this 15th day of August, 2022, a true and correct copy of the foregoing was

 served on all counsel of record via Notice of Electronic Filing by filing with the Court’s CM/ECF

 system.

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